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 1
                                   UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
 3
     FEDERAL TRADE COMMISSION,                       )
 4                                                   )       Case No: 17-cv-02000-APG-GWF
                      Plaintiff,                     )
 5                                                   )
              v.                                     )       ORDER TO EXTEND TEMPORARY
 6                                                   )       RESTRAINING ORDER AND
     REVMOUNTAIN, LLC, et al.,                       )       CONTINUE PRELIMINARY
 7                                                   )       INJUNCTION HEARING AND
                      Defendants.                    )       RESPONSE DEADLINES
 8                                                   )

 9
              Based on the Plaintiff’s and Individual Defendants’ joint motion, and for good cause
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     shown,
11
              IT IS ORDERED that the Ex Parte Temporary Restraining Order with Asset Freeze,
12
     Appointment of Temporary Receiver, and Other Equitable Relief, and Order to Show Cause
13
     Why a Preliminary Injunction Should Not Issue, ECF No. 16, will remain in full force and
14
     effect as to all Defendants until this Court rules on the issuance of a preliminary injunction.
15
              IT IS FURTHER ORDERED that the following briefing and hearing schedule is
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     entered:
17
             August 11, 2017: Plaintiff Federal Trade Commission’s (“FTC’s”) supplemental brief
18
              and evidence in support of issuance of a preliminary injunction;
19
             August 18, 2017: Defendants’ opposition to issuance of a preliminary injunction;
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             August 25, 2017: FTC’s reply;
21
              Tuesday, August 29
              _______________________,           9:00 a.m.
                                                 3:00 p.m.
                                       2017, at _____________,               6C
                                                               in Courtroom ______________:
22
              Preliminary injunction hearing; and
23
             September 8, 2017: Defendants’ responsive pleadings.
24

25
                             3rd
     IT IS SO ORDERED, this _______         August
                                    day of ____________, 2017.
26

27                                                  ________________________________
                                                    ANDREW P. GORDON
28                                                  UNITED STATES DISTRICT JUDGE


                                                         1
